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 December 1, 2023

 VIA ECF
 Hon. Cathy L. Waldor, U.S.M.J.
 United States District Court for the District of New Jersey
 Martin Luther King Building and U.S. Courthouse
 50 Walnut Street
 Newark, New Jersey 07102

 Re:       Innovative Sols. and Tech., LLC v. Pro Spot Int’l, Inc.
           Case No. 2:21-cv-17302 (JMV)(CLW)

 Dear Judge Waldor:

       As you are aware, we are counsel to plaintiff, Innovative Solutions & Technology
 (“ISAT”).

         We write on behalf of all parties pursuant to your Order entered on November 15, 2023,
 to inform the Court of the efforts made by the parties to Meet and Confer.

        While parties are working on solving the discovery and pleading issues, we have not yet
 concluded the issues and request that the telephone conference scheduled for December 13, 2023
 be continued one-week, or to a date more suitable to the court.

           We thank the Court for its time and attention to this matter.

                                                 Respectfully submitted,


                                                 Robert J. Rohrberger
 RJR:dg
 cc: All Counsel of Record (via ECF)




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